          Case 4:23-cr-00165 Document 8 Filed on 04/12/23 in TXSD Page 1 of 1
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                           April 13, 2023
                                                                                        Nathan Ochsner, Clerk
                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

UNITED STATES OF AMERICA                           §
                                                   §      CRIMINAL NO:        4:23-cr-165
                                                   §
                    V.
                                                   §
                                                   §
DANIEL BYRD                                        §
Memo for Alias:                                    §
                                                   §
                                                   §
                                                   §
                                                   §
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                              ORDER FOR ISSUANCE OF NOTICE



    A             CRIMINAL INDICTMENT
                                               has been filed against the defendant who is

             Released on Conditions     Detained       In Custody     It is

        ORDERED that a notice be issued for the appearance of said defendant      04/21/2023

   at      10:00 am      .



                                                         April 12, 2023           .
        SIGNED at Houston, Texas, on




                                       UNITED STATES MAGISTRATE JUDGE
